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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                    )
    In re:                                          )      Chapter 11
                                                    )
    CRED INC., et al.,                              )      Case No. 20-12836 (JTD)
                                                    )
                                  Debtors. 1        )      (Jointly Administered)
                                                    )
                                                    )      Related to Docket No. 356
                                                    )
    CRED INC. LIQUIDATION TRUST,                    )
                                                    )
                                 Plaintiff,         )
            v.                                      )      Adv. Proc. No. 22-______ (JTD)
    EARNITY, INC., EARNITY FINANCIAL,               )
    INC., EARNITY FINANCIAL INC., ET                )
    TRADER, INC. and DOMENIC CAROSA,                )
                                                    )
                                  Defendants.       )
                                                    )
                                                    )

                                               COMPLAINT

             The Cred Inc. Liquidation Trust (the “Trust”) established in the above-captioned

Chapter 11 cases (the “Chapter 11 Cases”) of Cred Inc. and its affiliated debtors (collectively, the

“Debtors” or “Cred”), by and through its undersigned counsel, files this complaint against

Defendants Earnity, Inc. (“Earnity”), Earnity Financial, Inc. (a Delaware corporation)

(“Earnity Financial”), Earnity Financial, Inc. (a Florida corporation) (“Earnity Financial (FL)”),

and ET Trader, Inc. (“ET Trader”) (collectively, the “Earnity Defendants”), and Domenic Carosa

(“Carosa”) (together with the Earnity Defendants, “Defendants”) and alleges as follows:




1
  The Debtors in the Chapter 11 cases, along with the last four digits of each debtor’s tax
identification number, as applicable, are as follows: Cred Inc. (8268), Cred (US) LLC (5799), Cred
Capital, Inc. (4064), Cred Merchant Solutions LLC (3150), and Cred (Puerto Rico) LLC (3566).
The Debtors’ mailing address is 3 East Third Avenue, Suite 200, San Mateo, California 94401.
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2020 and there was little, if any, hope that Cred was ever going to be repaid the tens of millions of

dollars’ worth of cryptocurrency (“crypto,” defined below) that Cred was owed in outstanding

loans. As its debts and losses mounted, Cred faced a severe liquidity crisis. But Cred was not yet

finished, and its management team was looking for ways that it could pull Cred out of its tailspin.

To that end, Cred was quietly working on a new plan to re-invent its business—which, if

successful, could turn Cred around and make the company a leader in the digital asset industry.

       3.      Cred invested company time and resources into developing this new business

platform, which was called “Cred 2.0” which was referred to internally as a “billion-dollar

opportunity” for the company. The plan was to create a social media-focused crypto investment

platform that would make it easy for retail investors to participate in various forms of crypto

investing. These included yield-earning opportunities in the form of loans (as part of Cred’s

“centralized finance” or “CeFi” (defined below) offerings), as well as more complex “staking”

transactions and other opportunities built around “decentralized finance” or “DeFi” (defined

below). The business would be a retail-focused “CeFi/DeFi router” that would drive crypto

investors to innovative yield-earning and trading opportunities that were previously inaccessible

to typical retail investors. But while Cred was busy developing “Cred 2.0”, Cred’s financial

situation continued to deteriorate.

       4.      When it became clear that bankruptcy was inevitable, Cred’s plan was to focus on

restructuring the company so that it could emerge from bankruptcy centered around the new

platform it was developing. However, Cred’s senior executives—including Chief Executive

Officer (“CEO”) Dan Schatt (“Schatt”), Chief Financial Officer (“CFO”) Joseph Podulka

(“Podulka”), and Chief Technology Officer (“CTO”) Daniel (“Danny”) Goldstein (“Goldstein”)—

had other ideas. They wanted to take Cred’s new platform for themselves.



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       5.        By the time Cred declared bankruptcy on November 7, 2020, Schatt, Podulka, and

Goldstein had agreed on a plan to take Cred 2.0 and start a new company of their own. Schatt,

Podulka and Goldstein started by recruiting key Cred employees (mostly product developers and

engineers) who were already working on Cred 2.0 to join them in their new venture. They needed

these employees to identify and extract Cred’s software, hardware, programming tools and data,

branding and marketing designs, and other highly confidential and proprietary information that

they would need to complete Cred 2.0 at their new company.

       6.        But Cred’s senior management team could not loot Cred and launch Cred 2.0 alone.

That is where Carosa, Earnity’s other co-founder, came into play. Carosa is the founder of Banxa

Holdings, Inc. (“Banxa”), a fiat-to-cryptocurrency payment processing company. He was first

introduced to Schatt by Cred’s restructuring mergers and acquisitions (“M&A”) advisor after

identifying Banxa as a potential buyer for Cred. Schatt and Carosa took an immediate liking to

each other and were soon communicating privately about “Cred 2.0.” Instead of having Banxa

buy Cred, Carosa joined Schatt and his co-conspirators’ plan to steal “Cred 2.0” without paying a

penny to Cred.

       7.        Carosa and Schatt both knew that Banxa was not going to purchase Cred. Yet

Banxa engaged in negotiations with Cred and its advisors for months under that pretense. These

protracted “negotiations” served two purposes. First, they gave Goldstein’s team of developers

and programmers additional time and use of Cred’s limited resources to continue their work on

the platform they were supposed to be building for Cred. Second, they gave Carosa and his team

time to mine Cred’s data room for key intellectual property (“IP”) and other proprietary

information that would be used to continue building Cred 2.0 at the new companies that would

become the Earnity Defendants.



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         8.       Then, with Carosa’s assistance, Goldstein and his team of Cred employees used the

additional time that Banxa’s sham proposal gave them to retrieve everything that would be of value

to the new company. When Goldstein and his team were finally laid off in mid-January 2021,

Goldstein and Carosa sent Schatt instructions to steal the remaining items they needed to continue

building Cred 2.0 elsewhere. This material included hardware that Goldstein described as “must-

have”, customer lists and other data that Carosa had seen from Cred’s data room, as well as

information technology (“IT”) equipment and other tangible assets that Goldstein wanted.
                                                                                                  4



         9.       As part of the liquidation of Cred’s assets, Carosa—without disclosing his

affiliation with Cred’s senior management—

                                              .                                                   ,

Cred’s former executives and Carosa took great pains to operate in secret, even directing a

technical consultant hired by the Trust not to disclose his involvement with the new entity to the

Trust.    Using Cred’s intellectual property, employees, and equipment, Earnity launched on

March 5, 2021, and raised in excess of $16 million using the “Cred 2.0” business model that Cred

had developed in the months prior to its bankruptcy filing.

         10.




4
    Exhibit C.

                                                  5
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       11.     Earnity was built using resources and property paid for and developed by Cred.

Schatt, Podulka, Goldstein, Carosa and their team of former Cred employees stole this confidential

and proprietary information from Cred after Cred filed for bankruptcy but before the former Cred

management team was laid off.

       12.                                                                               , Earnity

is now operating the social media/CeFi-DeFi Router platform (defined below) that was created

and developed by Cred and its employees, for Cred and using Cred’s limited resources.

Defendants have raised millions of dollars in outside investment by pitching the same business

concept that Cred conceived in early 2020 and invested precious company time and resources

developing while it was on the verge of bankruptcy.

       13.     Defendants have benefited and will continue to benefit from the same confidential

and proprietary information, including trade secrets, that former Cred executives, employees, and

their co-conspirators stole from Cred. Because these assets are property that belong to Cred’s

estate and that should and would have inured to the benefit of Cred and its creditors had they not

been wrongfully misappropriated, the Trust brings this action to recover them.




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                                             PARTIES

          14.    The Trust was created pursuant to the Modified First Amended Combined Plan of

Liquidation and Disclosure Statement of Cred Inc. and Its Subsidiaries Under Chapter 11 of the

Bankruptcy Code (D.I. 629-1) (as amended, the “Plan”), which this Court confirmed on March 11,

2021. The Plan became effective on April 19, 2021 (D.I. 730), whereupon the Debtors’ assets

were transferred and assigned to the Trust. (See Plan § 12.3.) The Trust is being administered by

the Liquidation Trustees (as defined in the Plan). (See id. § 12.3(a).)

          15.    Defendant Earnity is a corporation organized under Delaware law with its principal

place of business located at 3 East Third Avenue, Suite 200 in San Mateo, California. Earnity was

first incorporated as Earn Blockchain Holdings Inc. on February 9, 2021, and changed its name to

Earnity Inc. on March 5, 2021. Earnity operates as a social media-based blockchain platform that

offers retail customers a combination of “CeFi” and “DeFi” (both defined below) investment

opportunities in which customers can lend, borrow, or trade directly in crypto and other digital

assets.

          16.    Defendant Earnity Financial is a corporation organized under Delaware law with

its principal place of business located at 3 East Third Avenue, Suite 200 in San Mateo, California.

Earnity Financial was formed on July 25, 2021 as a wholly-owned subsidiary of Earnity, and

provides centralized administrative services to Earnity, including facilitating customer transactions

as a registered money transmitter.

          17.    Defendant Earnity Financial (FL) is a corporation organized and incorporated under

Florida law on October 19, 2021 with the same name as Earnity Financial. Earnity Financial (FL)

is based out of the same offices as Earnity and Earnity Financial, located at 3 East Third Avenue,




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Suite 200 in San Mateo, California, and, upon information and belief, operates in the same capacity

as Earnity Financial as a wholly-owned subsidiary of Earnity.

       18.     Defendant ET Trader is a Delaware corporation with its principal place of business

located at 3 East Third Avenue, Suite 200 in San Mateo, California. ET Trader was formed on

July 2, 2021 as a wholly-owned subsidiary of Earnity to undertake the capital markets functions

required to support Earnity’s retail customer operations.

       19.     Defendant Carosa is the other co-founder of the Earnity Defendants.           Upon

information and belief, Carosa is a citizen of Australia and resides in the Netherlands. Carosa

serves as Chairman of Earnity’s Board of Directors and, upon information and belief, holds a

substantial ownership stake in Earnity. Carosa also is or has served as Earnity’s President and

CEO.

                                 RELEVANT NON-PARTIES

       20.     Schatt is the co-founder and former CEO of Cred. Schatt became Cred’s CEO in

2018 and resigned from that position in December 2020. Schatt owns 50% of Cred’s equity.

Shortly after Cred filed for bankruptcy in November 2020, Schatt co-founded Earnity in February

2021. He is currently Earnity’s majority shareholder and the CEO of each of the Earnity

Defendants.

       21.     Podulka was Cred’s CFO from July 2019 to December 2020, where he oversaw

Cred’s corporate cash management and the expenses incurred by Cred Capital. On June 29, 2020,

Podulka became a member of Cred Capital’s board of directors. Shortly before Cred filed for

bankruptcy in November 2020, Podulka and Schatt began building the team of Cred executives

and employees who would go on to found the Earnity Defendants. Upon formation of the Earnity




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Defendants, Podulka became the CFO of each Earnity Defendant and continues to serve in that

capacity.

       22.     Goldstein served as Cred’s CTO from April 2020 to January 2021, where he was

hired to develop a new platform and product for Cred. Prior to Cred’s bankruptcy filing on

November 7, 2020, Goldstein was recruited by Schatt and Podulka to be the CTO of the new

company they were planning to form in the aftermath of Cred’s bankruptcy, which later became

Earnity. Goldstein currently serves as CTO for each of the Earnity Defendants.

       23.     Daniel Hummer (“Hummer”) is Earnity’s Director of IT. Hummer previously

served as Cred’s Director of IT from November 2019 until January 2020, where he worked on

developing Cred’s new platform. Hummer worked as a consultant during the Trust during Cred’s

liquidation. Like Goldstein, Hummer was recruited by Schatt and Podulka to join the company

that would later become Earnity prior to Cred’s bankruptcy filing, and was hired by Earnity after

its formation in February 2021.

       24.     Daniyal Inamullah (“Inamullah”) served as Cred’s Vice President of Capital

Markets from January 2020 to April 2020. In that role, Inamullah was responsible for seeking

investment opportunities, conducting due diligence, and proposing investments to Cred’s

“investment committee.” Inamullah was also recruited by Schatt and Podulka to join Earnity’s

future executive team, but declined their overtures.

                         RELEVANT TERMS AND DEFINITIONS

       25.     The term “crypto” or “cryptocurrency” refers to an asset issued and/or transferred

using distributed ledger or blockchain technology, including assets sometimes referred to as

“cryptocurrencies,” “virtual currencies,” “digital assets,” “coins,” and “tokens.” Cryptocurrencies

are digital assets that hold value based primarily on what a purchaser is willing to pay. Most



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customers purchase cryptocurrency speculating that the price of that particular cryptocurrency will

increase. Some cryptocurrencies are also used to buy goods and services. Bitcoin (“BTC”) and

Ethereum (“ETH”) are currently the most popular cryptocurrencies, but there are thousands of

other cryptocurrencies.

       26.     A “blockchain” is an open-sourced string of code which is the underlying

technology that facilitates the creation of and subsequent transaction in a particular cryptocurrency.

       27.     A crypto exchange (“exchange”) is a marketplace where users buy and sell

cryptocurrencies. Many exchanges are designed to be user friendly. Although exchanges are not

necessary to buy and sell crypto, exchanges are the most popular mechanism for retail customers

to buy and sell crypto.

       28.     Centralized finance, or “CeFi”, is a term that has been used in the crypto industry

to describe yield earning and lending opportunities with third parties. The term “centralized”

generally refers to a company or entity to which an investor lends its crypto in exchange for interest

payments. That “centralized” entity often relends that crypto or engages in proprietary crypto

trading to earn a yield in excess of that owed to its customers. By way of example, Cred was a

CeFi platform. Crypto investors who participate in CeFi platforms assume credit risk of the

centralized entity offering the platform as well as the CeFi platform’s borrowers. Like many terms

in the crypto industry, different market participants ascribe different meanings. But for purposes

of this complaint, CeFi will be defined in accordance with this paragraph.

       29.     Decentralized finance, or “DeFi” is a term that is used in the crypto industry to

describe offerings in which crypto investors earn yield by “staking” or other automated “smart

contracts.” “Smart contracts” underly every crypto and can also be set up to automate payments

or rewards. The terms of a smart contract are implemented on the blockchain and will self-execute



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when certain conditions are met. In DeFi, Crypto investors “stake” or “post” their crypto into

smart contracts that define the terms by which staking rewards will be paid. Usually, the crypto is

“staked” for a specified period of time after which the investor will be automatically repaid its

crypto plus rewards. In effect, the rewards are newly created crypto and so there is no counterparty

that must pay interest. The key difference between DeFi and CeFi is that in DeFi (if done correctly)

the investor does not incur credit risk because the DeFi opportunity will pay rewards automatically

pursuant to the automated smart contract. DeFi is one term in the crypto industry that is often

misused and many projects or opportunities are referred to as being “DeFi,” when they are actually

better described as CeFi.

          30.     A “CeFi/DeFi Router” is a website or other application that directs crypto investors

to various CeFi and DeFi opportunities and assists in facilitating those investments.

The CeFi/DeFi Router creates a marketplace where crypto investors can choose which CeFi or

DeFi opportunities to invest, usually with some direction, information, and marketing proliferated

by the CeFi/DeFi router.

                                   JURISDICTION AND VENUE

          31.     This Court has original jurisdiction over this adversary proceeding pursuant to

28 U.S.C. § 1334(b) because it arises under Title 11 of the United States Code (the

“Bankruptcy Code”) and relates to cases under the Bankruptcy Code pursuant to 28 U.S.C. §§ 157

and 1334(b). This adversary proceeding is a “core” proceeding to be heard and determined by the

Court pursuant to 28 U.S.C. § 157(b)(2) and the Court may enter final orders for matters contained

herein.

          32.     In accordance with Rule 7008-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),



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the Trust confirms its consent to the entry of a final order or judgment by the Court in connection

with this adversary proceeding to the extent that it is later determined that the Court, absent consent

of the parties, cannot enter a final order or judgment in connection herewith consistent with

Article III of the United States Constitution.

       33.     Venue is proper in this district pursuant to 28 U.S.C. § 1409(a).

                                         BACKGROUND

A.     Cred’s Crypto Lending Platform Leads To Significant Financial Problems

       34.     Schatt and Lu Hua (“Hua”) co-founded Cred in 2018 as a crypto “yield earning”

platform. 5 Under this business model, Cred’s customers lent crypto to Cred through a program

called “CredEarn”, in which Cred agreed to repay its customers the loaned crypto, plus interest.

       35.     Cred used approximately 90% of the crypto Cred received from its customers to

make secondary loans to MoKredit, a Chinese lending company owned by Hua (Cred’s 50% owner

and co-founder). 6 MoKredit was in the business of making unsecured and uninsured micro-loans

ranging from RMB10 ($1.45 USD) to RMB1000 ($145 USD) to young, low-income videogamers

in China with no credit history. These micro-loans were funded by the crypto Cred loaned to

MoKredit.




5
  Schatt and Hua initially established an entity named “Libra Credit” in Singapore, which later
became known as “Cyber Quantum Pte. Ltd.” On May 14, 2018, Schatt and Hua organized “Libra
Credit (US) LLC,” in Delaware, which changed its name to “Cred LLC” in August 2018. On
May 13, 2020, Cred LLC converted to Cred Inc.
6
  The entities comprising the defined term MoKredit are MoKredit Inc., MoKredit Technology
(Hong Kong) Company Limited, MoKredit (Shanghai) Information Technology, Co. Ltd, and
Shanghai Bestone Information Technology Co. Ltd. They are collectively referred to herein as
“MoKredit.”)

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       36.     Given the unsecured nature of MoKredit’s micro-loans, Cred’s reliance on

MoKredit exposed Cred to substantial risk. MoKredit also consistently failed to repay the principal

on its outstanding loans from Cred.

       37.     In addition to the risk of MoKredit defaulting, MoKredit would accept only

stablecoin from Cred. 7 Because Cred was obligated to repay its customers’ loans in BTC, ETH,

and other cryptocurrencies (plus interest), Cred assumed a significant risk of loss if BTC and/or

other cryptocurrencies increased in value before Cred could repay its obligations.

       38.     To mitigate this risk, Cred hired a trading firm (the “Trading Firm”) to design and

execute a hedging strategy that would protect Cred against the risk that the price of BTC and other

crypto would increase. Despite this mandate, the Trading Firm executed an extremely risky

trading strategy that was completely unsuitable for Cred’s needs.

       39.     This strategy failed. In just one night, on March 12, 2020, the price of BTC

plummeted and Cred lost hundreds of millions of dollars’ worth of crypto as a result of the

overleveraged positions that the Trading Firm has established for Cred. These losses depleted

Cred’s balance sheet and completely eliminated its hedging positions. Cred was left with naked

exposure to tens of millions of dollars in additional losses if and when the price of BTC and other

crypto again increased in value.

       40.     Cred faced a severe liquidity crisis in the wake of its March 12, 2020 trading losses

and lacked the cash or crypto to re-establish its hedging positions and avoid further losses.

       41.     On April 5, 2020, Cred’s Vice President of Capital Markets, Inamullah, prepared a

memorandum listing Cred’s remaining sources of liquidity: (i) approximately $350,000 in cash




7
 “Stablecoin” is cryptocurrency that is supposed to be identical in value to a fiat currency, usually,
and, as in this case, the U.S. dollar.

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on the balance sheet; (ii) loans from its portfolio amounting to approximately $2 million;

(iii) revenue from generating net interest margin from its loan portfolio amounting to

approximately $700,000 to $1 million; and (iv) additional contributions that would come from new

CredEarn customer deposits. 8          With few options left, the vast majority of Cred’s

“liquidity recovery strategy” hinged upon receiving more than $8 million in loan repayments from

MoKredit in the immediate future.

        42.                            . 9 As a result, Cred’s financial situation became increasingly

dire. On June 1, 2020, Schatt circulated a memorandum to his management team stating that:

(1) “Cred’s current liabilities exceeded its invested assets and current assets by approximately

$19.5 million or 19% of the total principal balance of liabilities”; and (2) that “Cred does not have

the capacity to repay the full liabilities if assets were liquidated today[.]” 10

        43.     With little, if any, chance of being repaid by MoKredit, Cred’s only option was to

seek funding from outside investors. On or around June 10, 2020, Schatt and other executives

announced that Cred was seeking its first round of capital and began reaching out to potential

investors. 11 These efforts led to multiple conversations between Cred’s management team and a

number of prospective investors throughout the summer of 2020.

        44.     In July 2020, Cred struck a deal with Dragonfly Capital LLC (“Dragonfly”)

whereby Dragonfly would be the lead investor for a round of convertible notes. These funds

provided a lifeline to the Company to keep it afloat.




8
  Exhibit D.
9
  Transcript of December 8, 2020 Deposition of Daniyal Inamullah (“Inamullah Dep.”) at 222.
10
   Exhibit E.
11
   Exhibit F.

                                                   14
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       45.     At the same time, however, Cred executives were quietly working on a plan that

would re-invent Cred’s entire business—which, if successful, could turn the company around and

make Cred an industry-wide leader in blockchain-based financial services.

B.     Cred Develops Cred 2.0

       46.     In or around the first quarter of 2020, Cred’s executive team began to formulate an

idea referred to internally as “Cred 2.0.” At the time, Cred offered only CeFi investment products

to customers through its third-party lending-based yield earning platform. Cred 2.0 would turn

Cred into a CeFi-Defi Router with the ability to not only direct its customers’ crypto to traditional

counterparty loans, but also blockchain-validated DeFi yield-earning transactions.

       47.     This plan would allow Cred to expand its services and revenue base by combining

its crypto lending business with a platform that would offer retail customers a wide variety of CeFi

and DeFi investment products where customers could lend, borrow, or trade their crypto and other

digital assets. The goal for Cred 2.0 was to make Cred a one-stop shop that would direct customers

from traditional blockchain-based CeFi investment products (which would remain available) to

new opportunities in the rapidly-expanding market for DeFi products in the digital asset space.

       48.     In addition to this core concept, these plans focused on incorporating several other

key elements into Cred’s new platform. One was to develop Cred’s trading infrastructure to

facilitate bilateral trades (as opposed to loans) and other transactions involving digital assets that

customers could easily access. Another was to incorporate a social media element into Cred’s new

product where users could share, follow and interact with each other while trading and transacting

on Cred’s platform.

       49.     Prior to founding Cred, Schatt had worked at a company called Stockpile that

allowed customers to purchase and transact with gift cards or tokens representing fractionalized

shares of publicly traded companies that could be shared with or gifted to other users. Schatt

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wanted to incorporate a similar user-to-user token or gift card function into a product that Cred

could offer customers separately from its yield earning platform.

       50.     To lead the project, Schatt hired Goldstein as Cred’s CTO in April 2020. Goldstein

had previously served as an executive at Western Union, Symantec, and Emergent Technology.

In that last role, Goldstein led the development of Emergent Technology’s G-Coin digital token, a

digital certificate of title to “responsibly-sourced” gold, which customers could trade as an

investment or use to make payments.

       51.     Schatt also recruited Don Kingsborough (“Kingsborough”), a high-profile fintech

and retail entrepreneur, to join Cred as a Senior Advisor in March 2020. Like Goldstein,

Kingsborough added experience and know-how to the team tasked with building Cred’s new

business platform through his executive and operational roles at the intersection of retail,

technology and fintech.

       52.     Transforming Cred into a combined CeFi-DeFi Router was a priority for Cred’s

executive team. It also was a relatively novel idea at the time to create a single social media-based

platform that would allow customers access to the full spectrum of CeFi and DeFi investment

opportunities for their crypto and other digital assets.

       53.     Presentations from the weekly “Cred All Hands” meetings from May 2020 onwards

demonstrate that Cred was ramping up development of this new platform and discussing

“Cred 2.0” regularly.

       54.     Likewise, emails from Schatt and other Cred executives in late June 2020 show that

Cred was discussing a move towards DeFi-focused products with prospective investors as part of

its plan to offer both CeFi and DeFi optionality on a single platform. Kevin Hu, the head of “Liquid

Strategies” at Dragonfly agreed with Schatt in a June 28, 2020 email that



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        57.     As part of this “roadmap to growth”, the memorandum detailed a number of “New

Product Concepts” in development as of July 2, 2020, including:                 (1) Private Debt;

(2) Money Markets; (3) Fund Management; (4) Private Wealth Management; (5) DeFi-related

Staking Partnerships; (6) Gold Product Ideation; and (7) Celebrity NFTs. 15 All of these concepts

reflect the expanded CeFi-to-DeFi “gateway” that Cred was developing as its future business.

        58.     On July 20, 2020, Cred’s CTO, Goldstein, created a new Slack Messaging channel

for a group of Cred developers and engineers which he called the “cred-10c-platform” team.

The term “10c” refers to the Polish-based blockchain and Fintech software development company

10Clouds, S.P. Z.O.O. (“10Clouds”), which Cred had hired in March 2020 to help design the new

platform that Cred was developing. 16 The new Slack channel shows that Cred had started hiring

the developers and engineers that were needed to build it.

        59.     Schatt was also reaching out to his former colleagues at PayPal for long-term

funding to develop Cred’s new platform. On July 29, 2020, Schatt introduced Jeremy Jonker, head

of PayPal Ventures, to his contacts at Dragonfly, noting that Cred had “lots of commercial

possibilities….just a longer timeframe to implement….” 17

        60.     In August 2020, Schatt and his executive team prepared a “Cred Investor

Presentation for Q3 2020” that incorporated several of the concepts described in Inamullah’s

strategy memorandum into business plans that were being pitched to Dragonfly and other

prospective investors. These concepts included initiatives for Cred to launch “payment cards,

trading and market operations, [and] Defi services” as new products in the first quarter of 2021. 18




15
   Id.
16
   Exhibit J.
17
   Exhibit K.
18
   Exhibit L at 8.

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         71.       Cred maintained its focus on the new CeFi- DeFi “gateway” that it was developing

through September and into mid-October 2020.                  Discussion took place at weekly

“Innovation Meetings”, “All Hands” meetings, and on multiple Slack Messaging channels where

the concepts and supporting software and coding for the new platform were regularly shared and

discussed internally with Cred’s management and developer teams.

         72.       But Cred’s financial situation remained dire. It was unlikely that MoKredit was

going to repay Cred for the vast majority of the $38 million that had been outstanding for many

months and by October 2020 Cred’s fundraising efforts had yielded a total of only $2.65 million.33

         73.       It was by now apparent that Cred would have to file for bankruptcy protection.

Cred’s plan at the time was to focus on restructuring the company so that it could emerge from

bankruptcy centered around the new CeFi-DeFi platform Cred had been developing. However,

Schatt and Podulka had other ideas.

C.       Schatt And Podulka Conspire To Steal Cred’s New Platform

         74.       Throughout its development, Schatt avoided disclosing any specific details or

creating a clear paper trail about Cred’s new “billion-dollar opportunity”. Schatt preferred to hold

discussions about the new platform on phone calls or at in-person meetings and generally did not

circulate memoranda or presentations discussing the plan to reinvent the company.

         75.       The reason for this practice is now clear: Schatt knew that Cred was in deep

financial trouble. He wanted to save the idea that Cred had developed on Cred’s time, with Cred’s

resources, Cred’s employees, and Cred’s know-how for himself when Cred went under.

         76.       But Schatt was not the only one on Cred’s management team who was quietly

planning to steal the “Cred 2.0” platform that Cred had been building over the past year. Cred’s



33
     Exhibit AA.

                                                  23
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       80.     Two days later, Goldstein created a new Slack channel he named “Cred-2.” 37

Goldstein invited Cred’s top developers and software engineers, including the team that had been

working with 10Clouds to develop Cred’s new CeFi-DeFi platform.

       81.     Several of the employees Goldstein recruited to join his “Cred-2” team were only

recently hired by Cred: (i) Pawan Chawla (“Chawla”), a software developer hired on

September 19, 2020; (ii) Maitri Kotak (“Kotak”), a business intelligence developer hired on

October 6, 2020, (iii) Alex Zavodnik (“Zavodnik”), a programmer hired in mid-October 2020, and

(iv) Christiane Ferreira (“Ferreira”), another programmer hired on October 12, 2020.

       82.     For a company on the verge of bankruptcy, hiring software programmers and

developers was a dubious decision. Both are highly-paid positions and generally cannot contribute

anything in the short term to a company that needed cash to remain a going concern. Software

programmers and developers are, however, essential to start-up companies like the one Schatt,

Podulka, and Goldstein intended to create with the product that had been conceived and developed

at Cred, for Cred, by Cred, and with Cred resources. 38

       83.     By using the outside funding that Cred had received to consolidate this team of new

hires, who were immediately assigned to work with 10Clouds on the new CeFi-DeFi platform for

Cred, Goldstein was already doing what Podulka had recommended to Schatt in his October 25-

26, 2020 emails: “coming away with a leaner company and…[using] start-up capital to focus on

areas of Cred we’ve been working on lately.”




37
   Exhibit BB.
38
   Given the timing of these moves, it appears that Goldstein and Schatt had already been working
in concert on a similar plan prior to Podulka’s October 25-26 proposal.

                                                26
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       84.       As Cred’s bankruptcy progressed through November 2020, it appeared less and less

likely that Cred would be able to emerge from Chapter 11 as an independent company. Cred would

either have to be sold or liquidated.

       85.       Keeping Cred’s programmers and developers on its payroll (including some of its

most recent hires) under these circumstances did not make sense. Yet that is exactly what Schatt,

Podulka, Goldstein and others in on their scheme intended to do in order to continue developing

the combined CeFi-DeFi platform they sought to take for themselves.

       86.       They soon found the perfect excuse for keeping these programmers and developers

on staff even after it was clear that Cred itself was no longer viable: a sham sale to a purportedly

willing counterparty who was in on their plan.

E.     Cred’s Proposed Sale To Banxa Was A Sham Used To Loot Cred Of Valuable Assets
       That Cred’s Executives Would Use To Start Their New Company

       87.

                                                            . 39
                                                                                   40



       88.       One of the prospective buyers Teneo identified was Banxa, a Canadian publicly-

traded fiat-to-crypto payment processing company founded in 2014 by Carosa.

       89.       A mutual contact introduced Teneo to Carosa on November 27, 2020 in connection

with Cred’s proposed sale. 41 Teneo arranged a meeting between Schatt and Carosa, where they

took an immediate liking to each other. Soon Schatt and Carosa were privately communicating




39
   Exhibit CC.
40
   Id. at 7.
41
   Exhibit DD.

                                                 27
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with each other about Cred 2.0, which was not advertised or described as a company asset in the

Cred “Teaser” that Teneo sent Banxa and other prospective buyers. 42

       90.     On December 1, 2020, Carosa informed Teneo and Schatt that Banxa would be

interested in submitting a “Stalking Horse” bid to acquire Cred. 43 Carosa requested further

information about Cred and specifically wanted access to Cred’s key IP. 44



                     . 45

       91.
                                        46
                                             Schatt and Podulka turned their full attention to their

plan to misappropriate everything Cred had created and developed for its future business model.

These assets included, above all, the programming IP, business plans and customer lists, and

employees with past experience and know-how behind the new CeFi-DeFi routing platform that

Cred had been developing as Cred 2.0.

       92.     Carosa soon proved a willing participant in the scheme hatched by Schatt and

Podulka.

              . 47




        .




42
   Exhibit EE.
43
   Exhibit FF at 5-6.
44
   Id.
45
   See Exhibit DD at 2; Exhibit GG.
46
   Exhibit HH.
47
   Exhibit II.

                                                 28
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          93.     Like Schatt, Carosa did not want to create a paper trail showing his involvement in

their scheme.




                                                                        48




          94.




                            . 49




48
     Exhibit RRR.
49
     Exhibit JJ; Exhibit KK; Exhibit LL.

                                                  29
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       95.




                                                          51



       96.




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       97.        Goldstein, Hummer, and their team of developers and engineers worked to build

and retrieve anything that would be of value to the new company. Goldstein’s team continued

these efforts right up until they were finally laid-off by Cred on January 15, 2021.

       98.




             54


       99.        Although he was no longer Cred’s CEO, Schatt still had access to computers and

other hardware and IT equipment in Cred’s office. Almost immediately after Goldstein and his




50
   Exhibit MM; Exhibit NN.
51
   Id.
52
   See, e.g., Exhibit OO; Exhibit PP; Exhibit QQ.
53
   Exhibit RR.
54
   Exhibit SS.

                                                30
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team were let go, Goldstein sent Schatt instructions on which items they needed from Cred to

continue work on the platform they had been building for Cred while still employed by Cred.

         100.      At the same time, Carosa was also sending Schatt instructions on other items that

they needed from Cred to continue developing its platform at their new company.




                           55


         101.




         102.




55
     Exhibit TT.

                                                  31
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                                                                (Emphasis added).

       103.




                                                 . 57

       104.




      . 58




56
   Exhibit UU.
57
   Id. at 2.
58
   Exhibit VV.

                                         32
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       105.




                                                                  . 59

F.     Schatt, Podulka, Goldstein, And Carosa Launch Earnity

       106.     Having taken everything from Cred that they could, Schatt, Podulka, Goldstein,

Carosa and the rest of their team were almost ready to complete the final stage of their plan: setting

up Earnity.

       107.     Through January 2021, Schatt and Carosa discussed the structure and composition

of the new company’s board and management team.



                                                 . 60

       108.



                                                                                            . 61

       109.




                 . 62




59
   Id.
60
   Exhibit WW.
61
   Exhibit XX.
62
   Exhibit YY.

                                                 33
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G.       The Trust Uncovers Earnity

         113.     For obvious reasons, Schatt, Podulka, Goldstein, Hummer, and Carosa tried to

conceal Earnity from the Trust. They failed.

         114.     Most of Cred’s IT equipment was secured by the Trust. Along with Cred’s office

furniture and supplies, this equipment was placed in a storage unit near Cred’s former offices in

San Mateo, California, to await a sale as part of the liquidation of Cred’s remaining assets.

         115.



                                                                                                   .




                          69
                               That same day, Hummer resigned as a consultant to the Trust and, upon




69
     Exhibit FFF.

                                                   35
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information and belief, shortly thereafter began working exclusively for Earnity with Carosa and

Schatt.

          116.




                                   .

          117.     Hummer realized that Carosa had made a mistake.




                                                                                   70




70
     Exhibit GGG.

                                                 36
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         118.     Hummer was right. Although the Trust was not yet aware that Earnity was

Cred 2.0,



                                                  . 72




71
     Exhibit HHH.
72
     Exhibit III.

                                             37
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       127.     The Trust and its counsel never received a response to this question. However, the

Trust had enough information by now to know that there was more to their story and that the

answer was an inevitable “Yes.”

       128.




       129.                                                                                    the

Trust served the Earnity Defendants with subpoenas pursuant to Bankruptcy Rule 2004 on

August 12, 2021 (the “Subpoenas”). The Subpoenas sought information concerning Cred’s

property—including Cred’s intellectual property—that may be in Earnity’s possession, custody,

or control.

       130.     Although Earnity agreed to comply voluntarily with the Subpoenas the Trust served

upon it, Earnity refused to produce any documents in response. Rather, Earnity objected to the

Subpoenas in their entirety and claimed that it did not possess responsive documents concerning

Cred or Cred’s property.

       131.     Following repeated communications, discovery letters, and meet and confers, on

December 2021, the Trust moved to compel the production of documents from Earnity. After a



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hearing in early January 2022, the Court ordered Earnity to comply with the Subpoenas’ document

requests.

              Earnity produced hundreds of responsive documents, many of which formed the basis

for this Complaint.

H.     Earnity Is “Cred 2.0”

       132.     Earnity is based on and created from the platform that Cred developed prior to its

bankruptcy filing in November 2020.

                                                                                                  ,

Earnity uses the same mailing address (as well as a workspace located across the street).

       133.     Earnity’s team is and was largely composed of former Cred executives, advisors,

and employees. Earnity’s counsel confirmed that, at a minimum, eight (8) former Cred employees

work for Earnity and, upon information and belief, that number has since increased and includes,

among others:      CEO Schatt, CFO Podulka, CTO Goldstein, senior advisor Kingsborough,

IT Director Hummer, Security Director Marie Kacmarek, programmers and developers Chawla,

Zavodnik, and Kotak, software engineers Joseph Lally and Joseph Liyana, creative director

Nicole Skillern, senior accountant Han Ha, and senior product director Heidi Ng.

       134.     Just like Cred 2.0, Earnity was built as a full-service CeFi-DeFi routing platform.

It was specifically designed to provide a combination of traditional CeFi investment products—

including customer-to-customer and third-party trading and lending transactions—that would

direct customers to a variety of DeFi investment opportunities on a user-friendly blockchain

platform that incorporated a social media element into its platform. These are the same core

elements of the platform that was intended to become “Cred 2.0”.

       135.     Internal memoranda describing Earnity’s operations and product offerings only

confirm this.

                                                42
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         136.




         137.     Again, these functions reflect the same core elements that defined Cred 2.0 as a

novel combination of CeFi and DeFi on a single easy-to-use platform.




79
     Exhibit KKK.
80
     Exhibit LLL.

                                                 43
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                                           : 81




81
     Compare Exhibit I with Exhibit LLL.

                                                  44
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         138.




         139.

                                                                                            .83

These are among the core elements of the product and platform that were being developed by Cred

executives and employees using Cred software for nearly an entire year before and up through

Cred’s bankruptcy filing in November 2020.




82
     Exhibit MMM.
83
     Exhibit NNN.

                                              45
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         140.     Led by Schatt and Carosa, Earnity has built partnerships and obtained funding from

investors by pitching the same business plans that were conceived and developed for and by Cred

in 2020—namely, creating a blockchain-based platform to facilitate crypto investment

opportunities for retail customers using social media.

         141.     For example, on December 27, 2021, Schatt sent an email to Ault Global Holdings

(“Ault Global”), a publicly-traded investment holding company.



                                                                              : 84




84
     Exhibit OOO.

                                                  46
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         142.     In addition to its flagship social media-based CeFi-DeFi routing platform, Earnity

formed two subsidiaries—Earnity Financial and ET Trader. These companies were designed to

perform supporting services and functions that could and would have been utilized by Cred and

similarly reflect the key components of what was intended to become “Cred 2.0.”

         143.     Earnity formed Earnity Financial on June 25, 2021, as a wholly-owned subsidiary

                                                                                                 ”85

Among other things, Earnity Financial’s website explains that it “offers customers the ability to

fund crypto purchases via wire transfers, ACH, as well as debit and credit cards; exchange

cryptocurrencies across multiple platforms with low transfer costs; curate bespoke cryptocurrency

collections; share and gift cryptocurrency with social communities; [and] seamlessly integrate

custodial and non-custodial wallets.” 86




85
     Exhibit PPP.
86
     https://www.earnityfinancial.com/

                                                  47
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         144.     Earnity also formed another subsidiary under Florida law with the same name as

Earnity Financial. Upon information and belief, Earnity Financial (FL) operates in the same

capacity as Earnity Financial for customers and business operations located in Florida.

         145.     In addition to Earnity Financial and Earnity Financial (FL), Earnity formed ET

Trader on July 2, 2021. ET Trader was designed to expand Earnity’s CeFi trading capabilities and

generate additional revenue by operating as a third-party intermediary in customer transactions

and trades on cryptocurrency exchanges.                                                        : 87




         146.     As with Earnity Financial, ET Trader’s services could and would have been a

significant asset to Cred in supporting traditional CeFi cryptocurrency trading and investment

services that formed one of the key parts of the “Cred 2.0”. And both its concept and the supporting

software were developed at Cred, by Cred, and for Cred.

I.       Earnity Has Raised A Significant Amount Of Money Off “Cred 2.0”

         147.                   , Earnity sought funding from Ault Global in late 2021 as part of its

Series A funding round, which raised $15 million. The lead investor in that financing round was

BitNile Holdings, Inc. (“BitNile”), a cryptocurrency mining company owned by Ault Global. 88




87
     Exhibit QQQ.
88
     Dec. 6, 2021 CoinDesk Article, DeFi Startup Earnity Raises $15M Led by Miner BitNile.

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       148.       In addition to using these funds to build the Cred 2.0 platform at Earnity, upon

information and belief, Earnity used these funds, in part, to sponsor an IndyCar for the 2022

IndyCar racing season. In the February 24, 2022 press release, Earnity described itself as the

“world’s first community-based crypto platform and marketplace” and “is a new crypto platform

and marketplace that was created to take the complexity out of crypto, making it more accessible

and secure to manage.” 89 Earnity also noted that it “combines a social media community with a

cryptocurrency and decentralized (DeFi) marketplace to give users a place to earn, learn and collect

crypto assets.”




89
   https://www.prnewswire.com/news-releases/earnity-the-worlds-first-community-based-crypto-
platform-and-marketplace-joins-with-ed-carpenter-racing-and-bitnile-holdings-on-2022-indycar-
program-301490148.html

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       152.     Because the business that Defendants now operate constitutes property, assets, and

opportunities that belong to Cred and that should and would have inured to the Trust and its

creditors if they not been wrongfully misappropriated, the Trust now brings this action.

                                      CAUSES OF ACTION

                                          Count I
              Avoidance of Unauthorized Post-Petition Transfers, 11 U.S.C. § 549
                                  (Against All Defendants)

       153.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       154.     Pursuant to Bankruptcy Code § 549, the Trust is entitled to avoid the transfer to the

Earnity Defendants of the tangible and intangible assets and property of Cred’s estate relating to

the platform described above as “Cred 2.0”, including the trade secrets and other confidential and

proprietary information developed by and for Cred—i.e., a CeFi-DeFi platform to connect retail

investors to centralized and decentralized cryptocurrency investment opportunities with a built-in

social media component to acclimate investors to various CeFi and DeFi investment

opportunities—prior to and through its bankruptcy filing on November 7, 2021 (the “Transferred

Assets and Trade Secrets”).

       155.     The Transferred Assets and Trade Secrets belong to Cred’s estate and were

misappropriated by Cred’s former officers and employees, including Schatt, Goldstein, and

Podulka, as well as Carosa, after the commencement of these Chapter 11 Cases, and were

subsequently transferred to the Earnity Defendants upon their respective formations

(the “Post-Petition Transfer”).

       156.     The Post-Petition Transfer from Cred’s estate to the Earnity Defendants was not

authorized by the Bankruptcy Code or this Court.



                                                  52
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       157.     The Earnity Defendants received the Transferred Assets and Trade Secrets in the

Post-Petition Transfer and continue to hold them with full knowledge that the Transferred Assets

and Trade Secrets were created by and for Cred and properly belonged to Cred’s estate.

       158.     Thus, the Post-Petition Transfer is avoidable under Bankruptcy Code § 549(a).

                                           Count II
                         Recovery of Avoided Transfer, 11 U.S.C. § 550
                                   (Against All Defendants)

       159.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       160.     The Trust is entitled to avoid the Post-Petition Transfer of the Transferred Assets

and Trade Secrets pursuant to Bankruptcy Code § 549.

       161.     The Earnity Defendants are the subsequent or mediate transferee of the Transferred

Assets and Trade Secrets, which they received pursuant to the Post-Petition Transfer and continue

to hold with full knowledge that the Transferred Assets and Trade Secrets were created by and for

Cred and properly belong to Cred’s estate.

       162.     The Earnity Defendants knew that the Post-Petition Transfer was voidable at the

time they received the Transferred Assets and Trade Secrets. Therefore, the Earnity Defendants

do not constitute good faith transferees under Bankruptcy Code § 550.

       163.     Cred and its estate have been damaged by the loss of the value of the Transferred

Assets and Trade Secrets and related business opportunities, as well as by reason of the costs and

attorneys’ fees that the Trust has incurred in connection with investigating the relevant misconduct

underlying and in bringing this action.

       164.     Accordingly, the Trust is entitled to recover the Transferred Assets and Trade

Secrets, or if this Court so orders, to recover the value of the Transferred Assets and Trade Secrets,



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for the benefit of Cred’s estate pursuant to Bankruptcy Code § 550(a), as well as the value of the

costs that the Trust has had to incur in order to recover them.

                                       Count III
      Misappropriation Of Trade Secrets, 18 U.S.C. § 1836 and Cal. Civ. Code § 3426
                               (Against All Defendants)

       165.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       166.     Cred created and developed the confidential and proprietary financial, business,

technical, and engineering information relating to the platform described above as “Cred 2.0” prior

to and through its bankruptcy filing on November 7, 2021.

       167.     The foregoing confidential and proprietary financial, business, technical, and

engineering information relating to the Cred 2.0 platform that Cred created and developed

constitute trade secrets as defined under 18 U.S.C. § 1839(3) and Cal. Civ. Code § 3426.1

(the “Cred 2.0 Trade Secrets”), and rightfully and legally belong to Cred and its estate.

       168.     The Cred 2.0 Trade Secrets that Cred owned derived independent and actual or

potential economic value from not being generally known to the public and/or other persons who

could obtain economic value from their disclosure or use, and at all relevant times Cred took

reasonable measures to keep the Cred 2.0 Trade Secrets confidential and secret including, but not

limited to, discussing and developing the Trade Secrets with a limited number of employees using

dedicated messaging channels, and requiring its employees to agree to various confidentiality

provisions in their employment agreements.

       169.     The Cred 2.0 Trade Secrets were willfully and maliciously misappropriated by

Cred’s former officers and employees, including Schatt, Goldstein, and Podulka, as well as Carosa,

after the commencement of these Chapter 11 Cases, and were subsequently transferred to the

Earnity Defendants upon their formation as part of the Post-Petition Transfer described above.

                                                  54
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       170.     Defendants knew or had reason to know that the Cred 2.0 Trade Secrets were secret

and valuable information that belonged to Cred and/or Cred’s estate at the time Defendants

received them, and Defendants continue to hold and benefit from the Cred 2.0 Trade Secrets with

full knowledge that their receipt and continued use of the Cred 2.0 Trade Secrets is unlawful.

       171.     Defendants have never received authorization from Cred, Cred’s estate, or the Trust

to use or possess the Cred 2.0 Trade Secrets, and Defendants have and continue to possess and use

the Cred 2.0 Trade Secrets for their own benefit and profit.

       172.     Defendants have and continue to do so with full knowledge that the Cred 2.0 Trade

Secrets were willfully and maliciously misappropriated from Cred and/or Cred’s estate.

       173.     Cred and its estate have suffered actual monetary damages as a direct and proximate

result of Defendants’ unlawful use and possession of the Cred 2.0 Trade Secrets, as the value of

the Cred 2.0 Trade Secrets (and the business opportunities they would have brought) should and

would have inured to the Trust and its creditors if they not been wrongfully misappropriated.

       174.     Accordingly, the Trust is entitled to recover damages from Defendants in the form

of actual loss, unjust enrichment, and/or reasonable royalty for the benefit of Cred’s estate under

Cal. Civ. Code § 3426.3(a) and (b). Further, because Defendants have and continue to use and

benefit from the Cred 2.0 Trade Secrets with the knowledge that they were willfully and

maliciously misappropriated from Cred and/or Cred’s estate, the Trust is entitled to recover

exemplary damages under Cal. Civ. Code § 3426.3 and its attorneys’ fees and costs under Cal.

Civ. Code § 3426.4.




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                                           Count IV
                   Unfair Competition, Cal. Bus. & Prof. Code § 17200, et seq.
                                   (Against All Defendants)

        175.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

        176.     Cred conceived of and developed the confidential and proprietary financial,

business, technical, and engineering information relating to the platform described above as

“Cred 2.0” as a novel idea and business concept prior to its bankruptcy filing on November 7,

2021.

        177.     The founding members of the Earnity Defendants, including former Cred officers

and employees, and Carosa wrongfully misappropriated these tangible and intangible assets that

Cred had created, developed, and owned prior to its bankruptcy filing and fraudulently transferred

them to Defendants.

        178.     Defendants have and continue to engage in business acts and practices deemed

“unlawful” under Cal. Bus. & Prof. Code § 17200, et seq. because, as alleged above, the Earnity

Defendants have and continue to operate businesses that represent property and assets that belong

to Cred and that should and would have inured to the Trust and its creditors if they had not been

wrongfully misappropriated by Cred’s former officers and employees in violation of the law and

the fiduciary duties that they owed to Cred.

        179.     Defendants have and continue to engage in business acts and practices deemed

“unfair” under Cal. Bus. & Prof. Code § 17200, et seq. because, as alleged above, Defendants have

and continue to benefit from property, assets, and corporate opportunities that Cred invested its

time and resources in creating and developing, yet neither Cred nor its estate received anything of

value in return from Defendants.



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       180.     Defendants have and continue to engage in business acts and practices deemed

“fraudulent” under Cal. Bus. & Prof. Code § 17200, et seq. because, as alleged above, Defendants

obtained the property, assets, and corporate opportunities that Cred invested its time and resources

in creating and developing through fraudulent means. These acts include, among other things, the

fraudulent Post-Petition Transfer, which was itself the product of the fraudulent scheme of the

Earnity Defendants’ founding officers and employees (including Carosa) to steal Cred 2.0 for

themselves through the formation and operation of the Earnity Defendants, as well as the

fraudulent and deceitful acts they engaged in during Cred’s bankruptcy proceedings.

       181.     Cred and its estate have and continue to suffer actual monetary damages as a result

of Defendants’ unlawful, unfair, and fraudulent business acts and practices—including, without

limitation, the loss of the Transferred Assets and Trade Secrets, and the loss of other corporate

opportunities that should have inured to Cred and its estate rather than to Defendants.

       182.     Accordingly, the Trust is entitled to recovery and restitution of all such damages

for the benefit of Cred’s estate under Cal. Bus. & Prof. Code § 17200, et seq.

                                          Count V
                                Common Law Unfair Competition
                                   (Against All Defendants)

       183.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       184.     Cred invested a substantial amount of company time and resources in developing

the new “Cred 2.0” platform from early 2020 through and even after Cred filed for bankruptcy on

November 7, 2020, with the intention that the new platform would reinvent and expand Cred’s

business.

       185.     Defendants unlawfully, unfairly, and fraudulently obtained the confidential and

proprietary financial, business, technical, and engineering information that Cred created and

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developed for this new “Cred 2.0” platform without providing Cred with anything of value in

exchange.

       186.     Accordingly, the Trust is entitled to recovery and restitution of all such damages

that Cred and/or its estate suffered as a result of Defendants’ wrongful misappropriation of the

property, assets, and corporate opportunities that rightfully belong to and should and would have

inured to Cred and/or its estate.

                                             Count VI
                                            Conversion
                                      (Against All Defendants)

       187.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       188.     Cred created and developed the confidential and proprietary financial, business,

technical, and engineering information, including the Transferred Assets and Trade Secrets, as

well as other tangible and intangible assets relating to the “Cred 2.0” platform, prior to and through

its bankruptcy filing on November 7, 2021.

       189.     These assets properly rightfully and legally belong to Cred and its estate.

       190.     The Defendants wrongfully obtained and disposed of these valuable assets through

the unlawful, unfair, and fraudulent acts of the Defendants, and the Defendants continue to use

and benefit from them, with the knowledge that doing so is wrongful and unlawful.

       191.     As a result, Cred and its estate have suffered injury and harm, including through

the loss of property and assets which should and would have inured to the Trust and its creditors

if they not been wrongfully converted. Accordingly, the Trust is entitled to recover these assets

including, but not limited to, the Transferred Assets and Trade Secrets, or their equivalent value.




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                                            Count VII
                                        Unjust Enrichment
                                      (Against All Defendants)

       192.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       193.     Cred created and developed the confidential and proprietary financial, business,

technical, and engineering information, including the Transferred Assets and Trade Secrets, as

well as other tangible and intangible assets relating to the “Cred 2.0” platform, prior to and through

its bankruptcy filing on November 7, 2021.

       194.     These assets properly rightfully and legally belong to Cred and its estate.

       195.     Defendants wrongfully obtained these assets through the unlawful, unfair, and

fraudulent acts of Defendants, without providing Cred with anything of value in exchange, and

Defendants continue to use and benefit from these assets with the knowledge that doing so is

wrongful and unlawful.

       196.     As a result of the foregoing, Defendants have been and continue to be unjustly

enriched at the expense of Cred and its estate. The Trust is therefore entitled to restitution in an

amount equal to the value of the property and assets that Defendants have wrongfully benefitted

from at the expense of Cred’s estate.

                                          Count VIII
                         Aiding and Abetting Breach of Fiduciary Duty
                                   (Against All Defendants)

       197.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       198.     Each Defendant aided and abetted Cred’s Chief Executive Officer (Schatt), Chief

Financial Officer (Podulka), and Chief Technology Officer (Goldstein) in breaching the fiduciary

duties they owed to Cred as officers and executives.

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       199.     Specifically, Schatt, Podulka, and Goldstein breached the fiduciary duties that they

owed to Cred including the duties of loyalty, care, and good faith by, among other things

misappropriating and/or converting certain of Cred’s tangible and intangible assets that Cred had

created, developed, and owned prior to its bankruptcy filing, including those developed as part of

the “Cred 2.0” project, and fraudulently transferred them to Defendants.

       200.     Each Defendant knew or reasonably should have known that Schatt, Podulka, and

Goldstein owed Cred fiduciary duties.

       201.     Each Defendant substantially assisted Schatt, Podulka, and Goldstein’s breach of

their fiduciary duties by using their positions of knowledge and expertise, as well as the trust Cred

placed in them, to misappropriate and/or convert certain of Cred’s tangible and intangible assets,

including corporate opportunities, for the benefit of Defendants and to Cred’s detriment.

       202.     Carosa knowingly or with reckless indifference participated in Schatt, Podulka, and

Goldstein’s breaches of their fiduciary duties by, among other things: (i) collaborating with Schatt,

Podulka, and Goldstein’s misappropriation and/or conversion of the Cred 2.0 assets and corporate

opportunities; (ii) assisting Schatt, Podulka, and Goldstein in segregating all of the unnecessary,

risky, and unwanted parts of Cred away from everything the former managers wanted to keep;

(iii) assisting Schatt, Podulka, and Goldstein’s raising of capital for the Earnity Defendants based

upon the use of the misappropriated and/or converted Cred 2.0 assets; and (iv) providing other

material and operational support in setting up and founding the Earnity Defendants to take

possession of the misappropriated and/or converted assets.

       203.     The Earnity Defendants knowingly or with reckless indifference participated in

Schatt, Podulka, and Goldstein’s breaches of their fiduciary duties by, among other things,

facilitating Schatt, Podulka, and Goldstein’s misappropriation and/or conversion of the Cred 2.0



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assets and corporate opportunities by taking possession of those assets and raising capital on the

basis of those assets to run a business that is rightly the property of Cred.

       204.     As a result of the knowing participating and substantial assistance that each

Defendant provided to Schatt, Podulka, and Goldstein’s breaches of fiduciary duties, Cred suffered

an amount of damages to be determined at trial.

                                         Count IX
                  Actual Fraudulent Transfer, Cal. Civ. Code § 3439.04(a)(1)
                                  (Against All Defendants)

       205.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

       206.     Cred was involved in a transfer whereby Cred’s trade secrets and confidential and

proprietary information is now in the possession of Defendants.

       207.     In connection with the transfer, Cred, through Schatt, Podulka, and other former

Cred executives and employees, acted with actual intent to hinder, delay, or defraud the creditors

of Cred.

       208.     Specifically and without disclosing the transfer, Schatt, Podulka, and other former

Cred executives and employees conspired with Carosa to steal Cred’s property, assets, and

corporate opportunities and use them to create a post-bankruptcy entity—in the form of Earnity—

when it became clear that Cred’s bankruptcy was inevitable. Schatt, Podulka, and other former

Cred executives and employees thus misappropriated property which they knew rightfully

belonged to Cred and its creditors.

       209.     Accordingly, the Trust is entitled to void the transfer of Cred’s trade secrets and

confidential and proprietary information to Defendants pursuant to Cal. Civ. Code § 3439.04(a)(1).




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                                          Count X
                Constructive Fraudulent Transfer, Cal. Civ. Code § 3439.04(a)(2)
                                   (Against All Defendants)

        210.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

        211.     Cred was involved in a transfer whereby Cred’s trade secrets and confidential and

proprietary information is now in the possession of Defendants.

        212.     In connection with this transfer, Cred did not receive a reasonably equivalent value

in exchange for the transfer of Cred’s trade secrets and confidential and proprietary information

made to Earnity and/or Carosa.

        213.     Cred, which was insolvent at the time of the transfer, was therefore engaged in a

business or transaction for which the remaining assets of Cred were unreasonably small in relation

to the business or transaction.

        214.     Accordingly, the Trust is entitled to void the transfer of Cred’s trade secrets and

confidential and proprietary information to Defendants pursuant to Cal. Civ. Code

§ 3439.04(a)(2).

                                            Count XI
                    Constructive Fraudulent Transfer, Cal. Civ. Code § 3439.05
                                     (Against All Defendants)

        215.     The Trust repeats and re-alleges each and every allegation in the preceding

paragraphs as if set forth fully herein.

        216.     Cred was involved in a transfer whereby Cred’s trade secrets and confidential and

proprietary information is now held by Defendants.

        217.     Cred made the transfer without receiving reasonably equivalent value in exchange

for the transfer.



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        218.       Cred was insolvent at the time it made the transfer or became insolvent as a result

of the transfer.

        219.       Accordingly, the Trust is entitled to void the transfer of Cred’s trade secrets and

confidential and proprietary information to Defendants pursuant to Cal. Civ. Code § 3439.05.

                                       PRAYER FOR RELIEF

        WHEREFORE, the Trust requests that this Court grant the following relief in favor of the

Trust and against Defendants:

            1. Avoiding the Post-Petition Transfer of the Transferred Assets and Trade Secrets
               pursuant to Bankruptcy Code § 549(a), Cal. Civ. Code § 3439.04, and Cal. Civ.
               Code § 3439.05 and directing the Earnity Defendants to return the Transferred
               Assets and Trade Secrets, or an amount to be determined at trial equal to the value
               of the Transferred Assets and Trade Secrets, to the Trust pursuant to Bankruptcy
               Code § 550(a);

            2. Actual damages and/or restitution in an amount to be determined at trial equal to
               the lost value of the Cred 2.0 Trade Secrets that were misappropriated from Cred
               pursuant to 18 U.S.C. § 1836 and Cal. Civ. Code § 3426.3(a); and/or, alternatively,
               reasonable royalty for Defendants’ use of the Cred 2.0 Trade secrets under Cal. Civ.
               Code § 3426.3(b);

            3. Exemplary damages under Cal. Civ. Code § 3426.3(c), as well as attorneys’ fees
               and costs under Cal. Civ. Code § 3426.4;

            4. Actual damages and/or restitution in an amount to be determined at trial for
               Defendants’ unlawful, unfair, and fraudulent business acts and practices under Cal.
               Bus. & Prof. Code § 17200, et seq. and/or the common law doctrine of unfair
               competition;

            5. Actual damages and/or restitution in an amount equal to the value of the property
               and assets that Defendants have wrongfully converted from Cred’s estate and have
               been unjustly enriched at the expense of Cred’s estate;

            6. Actual damages and/or restitution in an amount to be determined at trial as a result
               of Defendants’ aiding and abetting of the breach of fiduciary duties of Cred’s
               former officers and directors;

            7. Such other and further relief as this Court may deem just and proper.




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